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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                            Case No. 6:07-cr-107-Orl-28GJK

LOANA CORTIJO

 JUDGE:                            John Antoon II                    COUNSEL FOR GOVT:                   Bruce S. Ambrose

 DEPUTY CLERK:                     Darleen Darley                    COUNSEL FOR DEFT(S):                Andrew J. Chmelir

 COURT REPORTER:                   Anthony Rolland                   PRETRIAL/PROBATION:                 Mark Jacoby

 DATE/TIME:                        February 1, 2008                  INTERPRETER:                        Vanessa
                                   9:00-9:25 a.m.                                                        Wangenknecht/Spanish


                                  CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on Count One of the First Superseding Information.
Motion for Court to recognize defendant’s substantial assistance (Doc. No. 826)    Granted.
IMPRISONMENT:         One year and One day.
Court Recommends:      That the defendant be incarcerated at FCI Coleman, Florida.
Supervised Release:    2 Years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
         Community Service Program:       Perform 100 hours in lieu of paying a fine.
         Other:   Cooperate in the collection of DNA, as directed by the probation officer.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
DISMISSED COUNTS:          One of the original indictment on the motion of U.S. Attorney.
Defendant shall surrender to designated institution on or before 2:00 p.m., Friday, February 27, 2008.
Additional remarks:    Defendant is advised of right to appeal.
